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Case 1:21-cv-11794-ADB Document 31-3 Filed 03/30/22 Page 1 of 1

Hospitalizations from COVID-19

Released on: March 29, 2022
Data as of: March 28, 2022

Caution: recent data may be incomplete

 

Navigation
Today's Overview
Overview Trends
COVID-19 Cases
COVID-19 Testing
Hospitalizations
COVID-19 Deaths
Higher Ed & LTCF
Patient Breakdown
City & Town Data
Resources

Data Archive

 

Hospitalizations

 

 

 

ICU & Intubation Patient Demographics Bed Occupancy

 

 

 

 

 

 

Hospitalizations

On March 28, 2022 there were 215
patients hospitalized for COVID-19.

Of those 215 patients, 131 (61%)
were reported to be fully vaccinated
for COVID-19 when they contracted
COVID-19.

Of those 215 hospitalized patients,
81 (38%) were primarily hospitalized
for COVID-19 related illness.**

 

Graph selections
Time period

Last six months

Data fill (orange part of the graph)
Patients reported to be fully vaccinated

 

Number of COVID-19 patients in the hospital,

7-day average, and Patients reported to be fully vaccinated: Last six months
*Data on patients reported to be fulled vaccinated were first collected on 8/16/2021 and are not available for prior
dates.

February 23, 2022

Total COVID-19 patients in a hospital: 512
Patients reported to be fully vaccinated: 282
*Data on patients reported to be fulled vaccinated were first collected on 8/16/2021 and are not available for prior dates.

Number of new COVID-19 admissions: 61

New admissions are updated once weekly.

Hospitalization data includes confirmed cases of COVID-19 in acute care hospitals and alternate
care sites (added as of December 6, 2020). Hospitalization data are provided by the MDPH survey of
hospitals (hospital survey data are self-reported).

NOTE: Self-reported hospital data are generally posted the next day. Friday's data are posted on
Monday and Saturday-Monday data are posted Tuesday. Data are reported and shown broken-down

__ by day, including Saturday and Sunday.

 

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Oct 1, 21 Nov 1, 21 Dec 1, 21 Jan 1, 22 Feb 1, 22 Mar 1, 22 Apr 1, 22

 

**Patients are reported as being hospitalized due to COVID-19 if they received dexamethasone treatment. Administration of dexamethasone, a type of steroid medication, is
considered an indicator of moderate to severe COVID-19 and provides an estimate of primary COVID-19.

Hospitalization data provided by the MDPH hospital survey (survey data are self-reported by hospitals). NOTE: Self-reported hospital data are generally posted the next day. Friday's
data are posted on Monday and Saturday-Monday data are posted Tuesday. Data are reported and shown broken-down by day, including Saturday and Sunday. All data included in
this dashboard are preliminary and subject to change. Created by the Massachusetts Department of Public Health, Bureau of Infectious Disease and Laboratory Sciences, Division of

Surveillance, Analytics and Informatics.

 
